Case 1:21-cv-10493-LLS Document 1-1 Filed 12/08/21 Page 1 of 21




                EXHIBIT A
Case 1:21-cv-10493-LLS Document 1-1 Filed 12/08/21 Page 2 of 21
Case 1:21-cv-10493-LLS Document 1-1 Filed 12/08/21 Page 3 of 21
Case 1:21-cv-10493-LLS Document 1-1 Filed 12/08/21 Page 4 of 21
Case 1:21-cv-10493-LLS Document 1-1 Filed 12/08/21 Page 5 of 21
Case 1:21-cv-10493-LLS Document 1-1 Filed 12/08/21 Page 6 of 21
Case 1:21-cv-10493-LLS Document 1-1 Filed 12/08/21 Page 7 of 21
Case 1:21-cv-10493-LLS Document 1-1 Filed 12/08/21 Page 8 of 21
Case 1:21-cv-10493-LLS Document 1-1 Filed 12/08/21 Page 9 of 21
Case 1:21-cv-10493-LLS Document 1-1 Filed 12/08/21 Page 10 of 21
Case 1:21-cv-10493-LLS Document 1-1 Filed 12/08/21 Page 11 of 21
Case 1:21-cv-10493-LLS Document 1-1 Filed 12/08/21 Page 12 of 21
Case 1:21-cv-10493-LLS Document 1-1 Filed 12/08/21 Page 13 of 21
Case 1:21-cv-10493-LLS Document 1-1 Filed 12/08/21 Page 14 of 21
Case 1:21-cv-10493-LLS Document 1-1 Filed 12/08/21 Page 15 of 21
Case 1:21-cv-10493-LLS Document 1-1 Filed 12/08/21 Page 16 of 21
Case 1:21-cv-10493-LLS Document 1-1 Filed 12/08/21 Page 17 of 21
Case 1:21-cv-10493-LLS Document 1-1 Filed 12/08/21 Page 18 of 21
Case 1:21-cv-10493-LLS Document 1-1 Filed 12/08/21 Page 19 of 21
Case 1:21-cv-10493-LLS Document 1-1 Filed 12/08/21 Page 20 of 21
Case 1:21-cv-10493-LLS Document 1-1 Filed 12/08/21 Page 21 of 21
